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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                       SCHEDULING ORDER
                                                                       RELATIVE TO FORFEITURE
                                                                       COUNTS OF INDICTMENT

                                                                       05-CR-6161L

                       v.

JOHN NICOLO, CONSTANCE ROEDER,
DAVID FINNMAN,


                              Defendants.
________________________________________________


       The jury has returned its verdict as to liability and sentencing is currently scheduled. The

parties, however, need to brief their positions relative to the forfeiture counts.

       To that end, I direct the Government to file its brief on or before August 6, 2008, as to both

the procedure that must be followed as well as the Government’s substantive arguments concerning

forfeiture. The defense must respond on or before August 20, 2008, as to their position relative to

the Government’s submission.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge

Dated: Rochester, New York
       July 8, 2008.
